Case 2:12-cv-01639-TLN-CKD Document 39-2 Filed 08/07/13 Page 1 of 26

EXHIBIT G

Case 2:12-cv-01639-TLN-CKD Document 39-2 Fj|ed 08/07/13 Page 2 of 26

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Expert Report Pursuant to Federa| Ru|e of Civi|
Procedure, Ru|e 26(a)(2)(b)

Sepe v. Gordon Truckinq, Inc.. et al.

Prepared by:

Z,/_¢Q

' Mark Cohen
Chief Economist
Cohen Vo|k Economic Consu|ting Group

 

August 7, 2013

SOUTHERN CAL|FORN|A OFF|CE: 5743 SM|THWAY STREET, SUlTE 106 ' LOS ANGELES CA 90040 ~ T 323. 722.8047

Case 2:12-cv-Ol639-TLN-CKD Document 39-2 Filed 08/07/13 Page 3 of 26

1. Description of Assignme_nt

l, Mark Cohen, Chief Economist of Cohen Volk Economic Consu|ting Group,
have been retained by Anthony R. Rossmiller of Diepenbrock & Cotter LLP to
evaluate economic losses, if any, to Robert Sepe in the case of Sepe v. Gordon
Trucking, Inc., et a/. l have also been asked to provide comments With regard to
any economic loss analysis or testimony of economic damages experts for the
plaintiff.

2. Qualifications

Reade`rs may be directed to the attached CV (Attachment A). ln summary, l hold
a Bachelor’s degree in Business Administration, with an emphasis in Finance
from U.C. Berkeley, a Master`s degree in Business Management, with an
emphasis in international Finance from Boston University, and a Master’s degree
in Counseling with an emphasis in Vocational Rehab.ilitation and Career
Counseling from St. Nlary's College. Additiona||y, l have business valuation
training through the American Society of Appraisers. l have taught finance,
business valuation and investments at the MBA level. l have provided deposition
testimony in close to 500 cases, and l have testified at trial in over 100 cases.

3. Documents Reviewed
|n order to complete this assignment l have reviewed the following documents:

1. Deposition of Robert Anthony Sepe, Jr., dated February 21, 2012, and
exhibits;

2. Plaintiff’s Response & Production of Documents, Set One, and

attachments;

Plaintiff’s Responses to lnterrogatories, Set No. One;

Plaintiff’s Expert Witness Disclosure [FRCP 26(a)(2)] of Gregory W. Sells,

including Sells & Associates, lnc. letter report dated June 4, 2013;

Correspondence from Tim Frounfelkner to Anthony R. Rossmi|ler, dated

July 2, 2013, and attached income documentation;

Employment records from Exodus Designs and Surfaces;

Employment records from Block Tops, lnc.;

July 10, 2013 report of Robert Mistretta, CPA, MBA;

Defendants Gordon Trucking, lnc. and Elwood Hill's Rule 26 Reports and

Expert Witness List, including Exhibit A - Rule 26 Report of Bruce M.

McCormack, |V|.D., Exhibit B - Rule 26 Report of J-erome Antonio Barakos,

lVl.D., Exhibit C - Rule 26 Report of Tami Rockholt, R.N., B.S.N., Exhibit D

- Rule 26 Report of Richard “Rick” N. Robertson, Ph.D., and Exhibit E -

Rule 26 Report of Laurence Neuman, P.E.;

10. Supplemental report of Bruce M. McComtack, lV|.D., dated June 10, 2013;

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Case 2:12-cv-Ol639-TLN-CKD Document 39-2 Filed 08/07/13 Page 4 of 26

11. Addendum report of Gregory W. Sells, dated June 21 , 2013;

12. Deposition of Robert Mistretta, CPA, MBA, dated July 24, 2013, and
exhibits;

13. Deposition of Gregory Sells dated July 24, 2013, and exhibits;

14. Vocationa| Consultation Report of Carla H. Kelley, MRC, CRC, CDN|S,
dated August 7, 2013.

4. Other Work l Research

ln forming my opinions, I have also relied upon data and statistics provided by
the Bureau of Labor Statistics, the Federal Reserve, the Social Security
Administration, and the Joumal of Forensic Economics.

My office has also had telephonic contact with Carla H. Kelley, MRC, CRC,
CDMS, Vocational and Rehabilitation Consultant.

5. Summary of Findings

Based on the expert reports of Dr. McCormack, Dr. Barakos and Dr. Robertson,
the medical complaints alleged to have resulted in Mr. Sepe’s inability to work in
the occupations he was employed in prior to September 13, 2010 were not the
result of the September 13, 2010 motor vehicle accident As such, there is no
loss of Eaming Capacity associated with the September13, 2010 motor vehicle
accident

However, my assignment includes responding to the opinions of damages
experts for the plaintiff. ln this regard, l have prepared economic loss reports
adopting the assumption that the accidenth September 13, 2010 has caused
Mr. Sepe to be unable to work in the occupations he was engaged in prior to the
subject accident lncorporating opinions of Carla Kelley, MRC, CRC, CDMS, l
have prepared responsive reportsl which are attached (See Attachment B).

6. Analysis of Robert Mistretta

Mr. Mistretta’s analysis assumes that Mr. Sepe is unable to return to work and
achieve mitigating earnings following the subject incident. Dr. McCormack's
report of May 15, 2013 indicates that Mr. Sepe is capable of return to “|ight to
medium" work. Mr. Sells’ addendum letter of June 21 , 2013 sets forth various
activities that would be recommended for Mr. Sepe aimed at obtaining
employment Despite the conclusions of Dr. McCormack and Mr. Sells,
Mistretta’s analysis fails to identify any value of the future mitigation earning
capacity for Mr. Sepe other than zero. As such, Mistretta’s lost earning capacity
conclusions are incomplete and understated

Mr. Mistretta assumes that Mr. Sepe would have worked to age 67 or age 70.
Nowhere in his report or his deposition testimony does Mr. Mistretta indicate that
he consulted worklife expectancy tables in reaching his conclusions Worker

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participation in the labor force is a function of worker health, mortality, family
circumstances, general economic circumstances, and many other factors. To
address such realities, economists projecting lost eaming capacity into the future
tend to rely on objective data such as worklife expectancy tables in order to
determine a reasonable period of time to forecast future lost earnings. According
to the Work|ife Tables published in the Journal of Fo'rensic Economics in August
of2011, a 35 year old male with less than high school education has a worklife
expectancy of 22.50 additional years. Mistretta’s report computes lost earnings
for a period ranging from 31 .22 years to 34.22 additional years of work. Mr.
Mistretta’s assumptions regarding remaining work years go well beyond the
objective measure of worklife expectancy indicated in the Joumal cf Forensic
Economics, with resulting conclusions for lost earning capacity well above what
Wouid be the case had he relied upon a statistical worklife expectancy measure.

Mistretta’s analysis assumes that 10-year treasury returns exceed inflation by
1.5% per year, and that wage growth exceeds inflation by 2% per year, implying
that 10-year treasury returns lag wage growth by 1/2% per year. Thereforel
Mistretta’s “Net Discount Rate" with respect to wages is -.5% per year.
Mistretta’s future lost income calculations are projected for a period cf
approximately 27-30 years into the future. Examining a comparable period of
time in the past specifically the period 1984»2012, the following relationships
between wage growth, price inflation and 10-year treasury returns occurred:

Annua| Averacles. 1984 - 2012:

10-Year Treasury Returns: 6.05%
CPl-U Price lnf|ation: 2.93%
Construction Laborer Earnings lncreases: 2.77%

Over a several decade period approximating the future period of loss examined
by Mistretta, interest returns exceeded inflation by 3.12% per year (vs. Mistretta
assumption of 1.5%) and interest returns exceeded average construction laborer
earnings increases by 3.28% per year (vs. Mistretta assumption of -.5%).
Contrary to Mr. Mistretta’s assumption that wage growth exceeds inflation by 2%
per year, average wage increases for construction laborers have not kept up with
price inflation. lf Mr. Mistretta were to rely upon historically based Net Discount
rates similar to the 1984-2012 averages listed above, his calculations for future
lost income would be substantially reduced

Exhibits to Mr. Mistretta’s deposition include computations of net discount rates
for historical periods ranging from 5 years to 25 years. Mistretta’s Net Discount
Rate summary indicates an average CP| rate of 3.97% for a 25 year term, which
appears to have been calculated based on CPl-U index growth from an index of
118.5 in May, 1988 to an index of 235.979 in May, 2013. |n attempting to verify
his calculations, l found that the average annual growth rate in the CPl-U index
was 2.79% per year, not 3.97% per year. Mistretta’s other computations cf the

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historical growth rate for CPl-U appear to be overstated as well. Mistretta’s
apparent miscalculations of the CPl-U growth rate would help to explain his
assumption of a long-run 1.5% Net Discount Rate relationship between 10-year
treasury returns and price inflation. Mr. Mistretta testified to “real” wage growth
of 2% per year and incorporated this assumption into his analysis. However,
going through Mr. Mistretta’s deposition exhibits, l was unable to find the Bureau
of Labor Statistics backup data or articles that would verify that wages tend to
grow at 2% per year above price lnflation.

lVlr. Mistretta’s conclusions include prejudgment interest calculated at the rate of
2.25% per annum. lt is my understanding that an award of prejudgment interest
if any, would be a determination of the court at the time of trial. ln my
experience, the calculation of statutory interest is not a matter of expert opinion.

Mistretta associates the retirement ages of 67 and 70 with the value of Social
Security benefits that would be received, implying that Social Security benefit
value is maximized by delaying receipt of benefits until as late as age 70. A
present value analysis taking into account the payment of benefits from
retirement until the end of lVlr. Sepe’s life expectancy as well as the additional
employee cost to fund benefits while Mr. Sepe remains employed reveals that
the net present cash value to Mr. Sepe is not enhanced by delaying his
retirement to age 67 or to age 70. ln fact the opposite is the case. The net
present value to Nlr. Sepe with respect to the costs of funding benefits and the
value for the benefit payments to be received is higher when electinth receive
the benefits at the earliest retirement age of 62 years and 1 month rather than
delaying retirement to age 67 or to age 70.

Mistretta’s analysis includes lost fringe benefits based on employer payments
into the Medicare system equal to 1.45% of earnings. Given that lVlr. Sepe has
worked many years in the past and is capable of work into the future as well, his
eligibility for lVledicare benefits is likely to occur independent of the fringe benefit
amounts computed as lost to Mr. Sepe in Mr. Mistretta’s calculations. Therefore,
Mistretta’s analysis overstates the actual loss of benefits to Mr. Sepe.

7. Additional Attachments l Conc|uding Remarks

ln addition to my CV and responsive calculation reports, enclosed is a list of
testimonies in the past four years, and a company fee schedule. (Attachment C).

Please note that all work is based on information provided to date. lf additional
information is provided, l may augment or change my opinions.

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ATTACHI\/|ENT

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MARK COHEN
CURR|CULUM VlTAE
F|NANC|A T| TIC l

COHEN VOLK ECONOM|C CONSULT|NG GROUP, Wa|nut Creek, CA, 1995

to Present.
Principal, Chief Economist. Valuation of businesses and economic losses in
business personal injury, wrongful death, labor and mental litigation. Preparation of
statistical analyses vocational, labor and job market consultation and studies
Development and placement of structured settlement alternatives

BA¥ AREA PSYCHOTHERAPY TRAlNlNG lNSTlTUTE, Lafayette, CA, 1994 to 2001.
Member1 Board of Directors. Consultation in the business development and
management of this non-profit training institute

THE UD|NSKY GROUP, Berkeley, CA, 1984 to 1995.
Wc_e President. Valuation of businesses and economic losses in businessl personal
injury, wrongful death, labor and marital litigation Preparation of statistical analysesl
labor and job market consultation and studies Development and placement of '
structured settlement alternatives.

!E AQH|N§ EXPER|ENCE

DOM|N|CAN UN|VERS|TY, San Rafae|, CA, 1992 to 1998.
Adjunct Professor of Graduate Level |ntemational Finance, Monetary Systems and
investments M.B.A. Program; Undergraduate Level international Finance and
investments Business Schoo'l Program.

EUROPEAN BUS|NESS SCHOOL, Brussels, Belgium, 1991.
Adjunct Professor of Undergraduate Level Money and Banking, Statistics, and
Management.

ED_U§AI|QN

UN|VERS|TY OF CALlFORN|A AT BERKELE¥. Bachelors of Science, Business
Administration, 1982. Emphasis in Finance.

BOSTON UN|VERS|TY. Masters of Science, Management, 1991. Emphasis iri
international Finance. Graduated first in class

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Page 2 of_2

EC CN

ST. MAR¥’S COLLEGE. Masters of Arts, Counseling, 1998. Emphasis in Vocational
Rehabilitation and Career Counseling.

L|NDENWOOD COLLEGE: (1) Principies of Business Valuation, (2) Business Valu_ation
Theory and Methodo|ogy, (3) Business Va|uation: Seiected Advanced Topics.

P N AT ON

“Economic issues Fcr Vocational Experts To Consider in Vocational Analysis,"
presented to the Califomia Association of Rehabiiitation and Re-Empioyment
Professionals Oak|and, November 2002.

“Estimating Economic Loss To injured Self Employed Workers,” presented to the
American Rehabilitation Economics Associations (AREA), Reno, May 1998.

"Methodo|ogies to improve Economic and Vocational Analysis in Personal injury
Litigation,” with Thomas Yankowski, M.S., C.V.E., Litigation Economics Digest, National
Association of Forensic Economics, Missouri. Volume |l, Issue No. 2, Summer1997.
Also published in Vocational Evaluation and Work`Adjustment Journal, The Professional

Joumal of The Vocational Evaluation and Work Adjustment Association. Volume 31, No.
%, Fa|i/Winter 1998.

“Vocationai Evaiuation and Economic Analysis in Personal injury and Wrongful
Terrnination Cases,” with Thomas Yankowski, M.S., C.V.E., presented to the National
Association of Rehabilitation Professional in the Private Sector; San Francisco, Aprii
1995.

“The Economics of Employment Discharge and Ycur Cas_e,” with Jerald H. Udinsky,
Ph.D., A.S.A., The LaMer’s Brief, Business Laws, |nc., Ohio. Volume 20, issue No. 5,
March 15, 1990.

“Estimation of Future Medicai and Rehabilitation Care Costs: issues and Ciuestions for
The Attention of Rehabilitation Professiona|s," presented to the Registered Nurses
Professionals Association, Santa Clara Valley Medical Center, January 1990.

L C S SSOC S

Certified Earnings Analyst, American Rehabilitation Economics Association.
American Society of Appraisers, Business Valuation.

Califomia State Licensed Life insurance Agent.

American Economics Association.

W'estem Economic Association.

National Association of Forensic Economics.

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LOST EARN|NG CAPACITY TO ROBERT SEPE JR.
Response to Analysis of Mistretta

Se@ v. Gordon Trucking

Major Assumgtion:

Return to Work as indicated by Carla Kelley, MRC, CRC, CDMS
Direct Job Placement with Return to Work September 16-, 2013

August 7, 2013

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Table 1

 

Summary of Economic Loss

Eaming Capacity Without incident Table 3: $ 74,985

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Table 2

 

Actuaria| Data

Date of Birth:

Date of l ncident:

Date of Va|uation:

Age at Date of incident

Time Elapsed Between Date of incident and Va|uation:

Age at Date of Va|uation:

Work|ife Expectancy at Date of Valuation (1):

 

12/1/1974
9/1 3/201 0
3/31/2014
35.79 years
3.55 years
39..33 years
18.1 6 years

1 - Based on initially active men with 0-12 years of educationl no diploma, no GED.
"The Markov Process Model of Labor Force Activity: Extended Tables of Centrai
Tendency, Shape, Percentile Points, and Bootstrap Standard Errors," Skoog,
Ciecka, and Krue.ger; Journai of Forensic Economics, August2011, Volume XXli,

Number 2.

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Table 3

Eaming Capacity Without incident

 

Annual
Eaming
Dates (1) Period Capacity (2) Period Loss

9/13/2010 - 12/3112010 0.30 $ 22,625 $ 6,788
1/1/2011 - 12/31/2011 1.00 $ 23,,248 $ 23,248
1/1/2012 - 12/31/20`12 1.00 $ 23,683 $ 23,6.83
1/1/2013 - 9/15/2013 0.70 $ 24,126 $ 16,888
Sub T.otal: $ 70,607
Plus Retirement Benefits (2): $ 4,378
Totai Past Eaming Capacity Without incident: $ 74,985

 

1 - Per information provided by Carla Kelley, MRC, CRC, CDMS, this analysis
assumes that Mr. Sepe could have begun active participation in vocational return to
work efforts as of 12/15/2012 with return to work effective 9/16/2013 at an annual
earnings rate equal to or greater than Mr. Sepe's annual earnings rate of $24,126.
Therefore, as of 9/16/2013, Mr. Sepe's annual earning capacity is equal to or
greater than his annual earning capacity without incident and losses cease.

2 - Based on Mr. Sepe's average annual earnings 2003-2009, as indicated in
earnings documentation provided. Adjustments to 2011-2013 dollars are based on
changes iri average weekly earnings per the Bureau of Labor Statistics,

3 - Based on employer contributions to Social Security equal to 6.2% of earnings

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LOST EARN|NG CAPAC|TY TO ROBERT SEPE JR.
Response to Analysis of Mistretta

Sepe v. Gordon Trucking

Major Assumgtion:

Return to Work as indicated by Carla Kelley, MRC, CRC, CDMS
Short Term Training with Return to Work March 17, 2014

August 7, 2013

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Table 1

Summary of Economic Loss

Eaming Capacity Without incident Table 3: $ 87,892
Cost of Training (1): $ 15,000
Totai Economic Loss: $ 102,892

1 - Per information provided by Carla Kelleyl MRC, CRC, CDMS.

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Table 2

 

Actuariai Data

Date of Birth:

Date of incident

Date of Va|uation:

Age at Date of incident

Time Elapsed Between Date of incident and Va|uation:

Age at Date of Va|uation:

Work|ife Expectancy at Date of Valuation (1):

 

12/1/1974
9/13/2010
3/31/2014
35.79 years
3.55 years
39.33 years
18.16 years

1 - Based on initially active men with 0-12 years of education, no diploma, no GED.
"The Markov Process Model of Labor Force Activity: Extended Tables of Central
Tendency, Shape, Percentile Points, and Bootstrap Standard Errors," Skoog,
Ciecka, and Krueger; Journai of Forensic Economics, August 2011, Volume XXii,

Number 2.

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Table 3

Eaming Capacity Without incident

 

Annual
Eaming
Dates (1) Period Capacity (2) Period Loss

9/13/2010 - 12/31/2010 0.30 $ 22,625 $ 6,788
1/1/2011 - 12/31/2011 1.00 $ 23,248 $ 23,248
1/1/2012 - 12/31/2012 1.00 $ 23,683 $ 23,683
1/1/201 3 - 12/31/2013 1.00 $ 24,126 $ 24,126
1/1/2014 - 3/16/2014 0.20 $ 24,578 $ 4,916
Sub Totai: $ 82,761
Plus Retirement Benefits (2): $ 5,131
Totai Past Eaming Capacity Without incident $ 87,892

 

1 - Per information provided by Carla Keiieyl MRC, CRC, CDMS, this analysis
assumes that Mr. Sepe could have begun active participation in vocational return to
work efforts as of 12/15/2012 with return to work effective 3/17/2014 at an annual
earnings rate equal to or greater than Mr. Sepe's annual earnings rate cf $24,578.
Therefore, as of 3/17/2014, Mr. Sepe's annual earning capacity will be equal to or
greater than his annual earning capacity without incident and losses ceas'e.

2 - Based on Mr. Sepe's average annual earnings 2003-2009, as indicated in
eamings documentation provided. Adjustments to 2011-2014 dollars are based on
changes in average weekly earnings per the Bureau of Labor Statistics,

3 - Based on employer contributions to Social Security equal to 6.2% of earnings

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LOST EARN|NG CAPAC|TY TO ROBERT SEPE JR.
Response to Analysis of Mistretta

Sep_e v. Gordon Trucking

Major Assumgtion:

Return to Work as indicated by Carla Kelley, MRC, CRC, CDMS
Short Term Training with Return to Work November 17, 2014

August 7, 2013

SOUTHERN CAL|FORN|A OFF|CE: 5743 SMITHWAY STREET, SU|TE 106 ' LOS ANGELES CA 90040 ' T 323. 722.8047

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Table 1

 

Summary of Economic Loss

Present Cash

i. Past Period: Value
Eaming Capacity Without incident Table 3: $ 88,936

ll. Future Period:

Eaming Capacity Without incident Table 4: $ 16,318
Cost of Training (1): $ 15,000
Future Economic Loss: $ 31,318

ii|. Past and FutLe Periods:

Totai Economic Loss: $ 1 20:254

1 - Per information provided by Carla Kelley, MRC, CRC, CDMS.

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Table 2

Actuariai Data

Date of Birth:
Date of incident
Date of Va|uation:

Age at Date of incident

Time Elapsed Between Date of incident and Va|uation:

Age at Date of Va|uation:

Work|ife Expectancy at Date of Valuation (1):

 

12/1/1974
9/13/2010
3/31/2014
35.79 years
3.55 years
39.33 years
18.16 years

1 - Based on initially active men with 0-12 years of education, no diploma, no GED.
"The Markov.Process Model of Labor Force Activity: Extended Tables of Central
Tendency, Shape, Percentile Points, and Bootstrap Standard Errors," Skoog,
Ciecka, and Krueger; Joumal of Forensic Economics, August 2011, Volume XXii,

Number 2.

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Table 3

 

Past Earning Capacity Without incident

 

 

Annual
Eaming
Dates Period Capacity (1) Period Loss

9/13/2010 - 12/31/2010 0.30 $ 22,625 $ 6_,788
1/1/2011 - 12/31/2011 1.00 $ 23,248 $ 23,248
1/1/2012 - 12/31/2012 1.00 $ 23,683 $ 23,683
1/1/2013 - 12/31/2013 1.00 $ 24,126 $ 24,126
1/1/2014 - 3/31/2014 0.24 $ 24,578 $ 5,899
Sub Totai: $ 83,744
Plus Retirement Benefits (2): $ 5,192
Totai Past Eaming Capacity Without incident $ 88,936

 

1 - Based on Nlr. Sepe's average annual earnings 2003-2009. as indicated in
earnings documentation provided. Adjustments to 2011-2014 dollars are based on
changes in average weekly earnings per the Bureau of Labor Statistics

2 - Based on employer contributions to Social Security equal to 6.2% of earnings

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Table 4

Future Eaming Capacity Without incident

 

Annual
Earning Present Cash
Dates (1)_ Period Capacity (2) Vaiue (3)
3/31/2014 - 11/16/2014 0.63 $ 24,578 $ 15,365
Plus Retirement Benents (4): $ 953
Totai Future Earning Capacity Without incident $ 16,318

 

1 - Per information provided by Carla Kelley, iVlRC, CRC, CDMS, this analysis
assumes that Mr. Sepe can begin active participation in vocational return to work
efforts as of 8/15/2013 and return to work effective 11/17/2014 at an annual
earnings rate equal to or greater than Mr. Sepe's lost annual earnings rate of
$24,578. Thereforel as of 11/17/2014, Mr. Sepe's annual earning capacity wiil be
equal to or greater than his annual earning capacity without incident and losses
cease.

2 - See Table 3, "Past Eaming Capacity Without incident" Footnote 1.
3 - 2.5% net discount rate.

4 - See Table 3, "Past Eaming Capacity Without incident," Footnote 2.

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MARK COHEN
Name LisT oF TEs'rii\iioNiEs

 

Seitz v. New Hoiiand

Kuchta v. Neopost, lnc.

James v. Phiilips Services Corp.
Singh v. Wincheil's Donut Houses
O‘Neiii v. City of Paio Aiio

Piper v. Pera|ta Community College Dist
Merritt v. Modesto Disposa| Service
Tripodi v. Rider

Housley v. CCSF and CHP

Piiare v. Matson

Piiare v. Matson

West v. Kmart

Zottoii v. Erasmus

Nakamori v. DMC San Pablo
ivanoe v. Asbestos Defendants
Kuchta v. Neopost, lnc.

Frankiin v. Aiameda County S_herifi's Dept.

Liitle v. RMC

Bioom v. Kaiser

Caro v. Enviro-Commerciai Sweeping
Barajas v. Ramos

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Memo

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MARK COHEN

Name Lis'r 'oi= TEsTiMoNiEs

Wing v. Horizon Lines

Huong Que v. Pro Enterprise
Thomas. Audrey v. San Leandro Hospital
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Boio v. Cisco Systems

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Stanley v. Kaiser

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Kaznowski v. Biesen-Bradiey
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Memo

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